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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
AMERICAN-ARAB ANTI-                 )
DISCRIMINATION COMMITTEE            )
                                    )
            Plaintiff,              )
                                    )
      v.                            )   Civil Action No. 1:17-cv-00708-CRC
                                    )
U.S. CUSTOMS AND BORDER             )
PROTECTION,                         )
                                    )
            Defendant.              )
                                    )
____________________________________)

                                    JOINT STATUS REPORT

        Pursuant to the Court’s Minute Order dated May 3, 2018, the parties have conferred and

have come to an agreement on one additional search the agency will undertake in an effort to

resolve any challenge to the adequacy of CBP’s search efforts to date. Per Plaintiff’s suggestion,

the agency has agreed to search the email records of the Director of the Vetting Center using the

search terms “executive order,” “EO,” or “E.O.” from the time period January 27, 2017 to April

7, 2017. 1 At this time, CBP is unable to state with certainty when it will be able to complete

production of responsive, non-exempt records resulting from the anticipated additional search, if




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  Defendant maintains that between November 9, 2016 and June 6, 2017, the only change to the operation
of Global Entry in terms of membership eligibility was as a result of Executive Order 13,769, which was
issued on January 27, 2017 and enjoined on February 3, 2017, as explained in the Declaration of Patrick
Howard attached to Defendant’s Motion for Summary Judgment, ECF No. 15. Defendant therefore
maintains that the most reasonable timeframe for the anticipated additional search is January 27, 2017 to
February 4, 2017. In an effort to accommodate Plaintiff’s request, Defendant has agreed to a broader
timeframe. If the search results are voluminous and appear to be largely unresponsive, the parties will
discuss ways to narrow the results.


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any. However, CBP endeavors to “promptly” make available to Plaintiff any responsive, non-

exempt records, in accordance with its obligations under 5 U.S.C. § 552(a)(3)(A).

       The parties have also conferred about Plaintiff’s potential withholding challenges, and

Plaintiff has decided not to challenge any withholdings that CBP has made in the records released.



Dated: May 11, 2018                                 Respectfully submitted,

                                                    CHAD A. READLER
                                                    Acting Assistant Attorney General

                                                    ELIZABETH J. SHAPIRO
                                                    Deputy Director, Federal Programs Branch

                                                    /s/ Kari E. D’Ottavio
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